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 5
                                    UNITED STATES DISTRICT COURT
 6                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 7
      EBONY HANEY,
 8
                     Plaintiff,                                   Case No. C12-1082RSM
 9
             v.                                                   DISMISSAL ORDER
10
      T-MOBILE USA, INC., et al.,
11
                     Defendants.
12

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15          The Court having been notified of the settlement of this case, and it appearing that no issue

16   remains for the court's determination,

17          IT IS ORDERED that this action and all claims asserted herein are DISMISSED with

18   prejudice and without costs to any party.

19          In the event that the settlement is not perfected, any party may move to reopen the case,

20   provided that such motion is filed within thirty (30) days of the date of this order.

21          IT IS SO ORDERED this 13th day of July 2012.

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                                                 A
                                                 RICARDO S. MARTINEZ
                                                 UNITED STATES DISTRICT JUDGE

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     DISMISSAL ORDER - 1
